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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 07-20018-03-JWL


Troy Jarrett,

                     Defendant.

                                  MEMORANDUM & ORDER

       In February 2009, defendant Troy Jarrett pled guilty to one count of conspiracy to

distribute or possess with intent to distribute more than five kilograms of cocaine and to

manufacture, distribute, or possess with intent to distribute more than fifty grams of cocaine

base. In May 2009, the court sentenced Mr. Jarrett to 120 months’ imprisonment. This matter is

presently before the court on Mr. Jarrett’s motion for reduction of sentence pursuant to 18

U.S.C. § 3582(c)(2). As will be explained, the motion is denied.

       In his motion, Mr. Jarrett seeks relief based on the Fair Sentencing Act of 2010 in which

Congress amended 21 U .S.C. § 841(b)(1)(A)(iii) to provide a mandatory minimum sentence of

10 years for 280 grams or more of cocaine base and to provide a mandatory minimum sentence

of 5 years for 28 or more grams of cocaine base. See United States v. Lucero, 713 F.3d 1024,

1026 (10th Cir. 2013) (FSA increased the amount of cocaine base necessary to trigger the ten-

year mandatory minimum from 50 grams to 280 grams). The Fair Sentencing Act of 2010

became effective on August 3, 2010 and it is well established in the Tenth Circuit that the Fair

Sentencing Act does not apply retroactively to those defendants, like Mr. Jarrett, sentenced prior
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to the Fair Sentencing Act’s effective date of August 3, 2010. Id. at 1027-28. To avoid this

result, Mr. Jarrett urges this court to follow the Sixth Circuit’s decision in United States v.

Blewett, 719 F.3d 482 (6th Cir. 2013). In Blewett, the Sixth Circuit held that the Fair Sentencing

Act of 2010 must be applied retroactively to defendants sentenced prior to its enactment

pursuant to the Equal Protection Clause. See id.     This argument fails for two reasons. First,

this court is required to follow the law of the Tenth Circuit, which has unequivocally held that

the Fair Sentencing Act of 2010 does not apply retroactively to defendants sentenced prior to

August 3, 2010. Lucero, 713 F.3d at 1027-28. Second, the en banc Sixth Circuit vacated the

panel decision in Blewett such that the sole case upon which Mr. Jarrett relies is no longer “good

law” in any event. See United States v. Blewett, 746 F.3d 647 (6th Cir. 2013) (en banc).

       Mr. Jarrett also requests in his motion that the court credit against his federal sentence

twenty-eight months that he served on a state conviction that was occasioned by conduct that

was charged in Mr. Jarrett’s federal case. The court denies this aspect of Mr. Jarrett’s motion

because Mr. Jarrett’s reason for the requested modification of his sentence is not among the

reasons authorized in 18 U.S.C. § 3582.

       For the foregoing reasons, Mr. Jarrett’s motion is denied.1



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Jarrett’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 405) is denied.



1
 In its response to Mr. Jarrett’s motion, the government explains at some length why Mr. Jarrett
is not entitled to a sentence reduction based on Amendment 750 to the United States Sentencing
Guidelines. Because Mr. Jarrett has not raised that argument, the court need not address it.
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IT IS SO ORDERED.



Dated this 7th day of August, 2014, at Kansas City, Kansas.



                                        s/ John W. Lungstrum
                                        John W. Lungstrum
                                        United States District Judge




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